   4:17-cv-03000-JMG-MDN Doc # 25 Filed: 09/13/17 Page 1 of 3 - Page ID # 49



                           TFIE UNITED STATES DISTRICI- C]OURT
                             FOR THE DISTIìIC]T OI.- NEBRASKA
                                     AT LINCOI,N. NEBIìASKA


KYLE R. KROTZINGER,                           )          Case No.: 4: 1 7-cv-3000
                                              )
                       Plaintiff,             )
                                              )
       VS                                     )         STIPULATION FOR DISMISSAL
                                              )
                                              )
UNION PACIFIC RAILROAD                        )
COMPANY, A Delaware Corporation,              )
                                              )
                       f)efendant.            )


       I'I IS STIPULATED by and between the Parties that the above-captioned action should

be disrnissed with prejudice to the filing of any future action, each party to pay their own costs

and complete record waived.

       Dated this 1 3th day of September,20lT       .




                                              KYLE R. I(ROTZINGIIIì. Plaintiff


                                       By:    /s/James L. Cox .Jr
                                              Jarnes L. Cox, .1r., Nebraska Bal #20223
                                              Brent Coon & Associates
                                              3801 E. Florida Ave.. Suite 905
                                              Denver, Colorado 8021 0-2500
                                              Telephone: (303) 756-2500
                                              Fax: (303) 756-3595
                                              i   im. cox (¿Dbcoonl aw. c orl
                                              ATTORNtrYS FOR PLAIN'| IFI.
4:17-cv-03000-JMG-MDN Doc # 25 Filed: 09/13/17 Page 2 of 3 - Page ID # 50




                                 UNION PACIFIC RAII,ROAD COMPANY,
                                 Defendant,


                           By    /s/ Daniel. J. Flassing
                                 William M. Lamson, Jr.. #1237 4
                                 Daniel .T. Hassing, #24408
                                 LAMSON, DUGAN & MURRAY, LLP
                                 10306 Regency Parkway Drive
                                 Omaha, NE 681l4
                                 (402) 397-7300 : Telephone
                                 (402) 397 -7824 : Facsirnile
                                 wlamsonúùldmlaw.com
                                 dhassingúÐ1dmlaw.com
                                 ATTORNEY S FOR DEFE,NDANT
   4:17-cv-03000-JMG-MDN Doc # 25 Filed: 09/13/17 Page 3 of 3 - Page ID # 51



                              .IHE
                                   UNI'IED STATES DISTRICT COURT
                                 FOR TI-IE DISTRICT OF NEBRASKA
                                      AT LINCOLN, NEBRASKA


KYLE R. KROI'ZINGER,                             )       Case No.: 4:17-cv-3000
                                                 )
                          Plaintift              )
                                                 )
           VS                                    )     OIIDER FOR DISMISSAL
                                                 )
                                                 )
UNION PACIFIC RAILROAD                           )
COMPANY, A Delaware Corporation,                 )
                                                 )
                          Defendant              )



           'fhis matter is before the Court on the stipulation of the Parties that the above-captioned

matter should be dismissed with prejudice, each party to pay their own costs. The Court, being

fully advised in the premises. finds that such an order should be entered. Accordingly,

           IT' IS OI{DERED that this action is dismissed. with prejudice, and each party to pay their

own costs and cornplete record waived.

           DATED this _         clay of                         2017




                                                         HON. JOFIN M. GERRAIìi)


Prepared and Submitted by

Daniel .T. Hassing, #24408
LAMSON, DUGAN ancl MURRAY, LLP
10306 lìegency Parkway l)rive
Omaha, Nebraska 68114
(402) 397 -7300

t+6s4672
